
724 S.E.2d 520 (2012)
STARK, et al.
v.
FORD MOTOR COMPANY.
No. 313PA10-1.
Supreme Court of North Carolina.
April 12, 2012.
K. Edward Greene, Raleigh, for Stark, Cheyenne Saleena et al.
Kirk G. Warner, Raleigh, for Ford Motor Company.
Robert L. Wise, for Ford Motor Company.
Adam Charnes, Winston-Salem, for Ford Motor Company.
Stephen J. Darmody, for National Association of Manufacturers, et al.
Burley B. Mitchell, Jr., Raleigh, for Product Liability Advisory Council.
William F. Womble, Jr., for Product Liability Advisory Council.
Steven B. Epstein, Raleigh, for N.C. Association of Defense Attorneys and the N.C. Chamber.
Hugh F. Young, Jr., for Product Liability Advisory Council.
Dan J. McLamb, Raleigh, for National Assoc. of Manufacturers, et al.
I. Beverly Lake, Jr., Raleigh, for Former N.C. Legislators H. Parks Helms, et al.
Edward Eldred, for Covenant with NC's Children and kidsandcars.org.
Michael W. Patrick, Chapel Hill, for Advocates for Justice.
James L. Gilbert, for Stark, Cheyenne Saleena et al.
David F. Kirby, Raleigh, for Advocates for Justice.
The following order has been entered on the motion filed on the 14th of March 2011 by Plaintiff in the Alternative to Amend the Record on Appeal:
"Motion Allowed by order of the Court in conference, this the 12th of April 2012."
